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                                  IN THE
                   UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA ,                          )
                                                    )
              v.                                    )       No. 95cr509-6
                                                    )       Judge Robert W. Gettleman
ERIC WILSON                                         )


      DEFENDANT ERIC WILSON’S MOTION TO SUSPEND BRIEFING

       Defendant DONNELL SIMMONS, by the Federal Defender Program and its

attorney MIANGEL CODY, respectfully this Honorable Court to suspend briefing. In

support of this motion, Mr. Wilson states as follows:

       1. Defendant Eric Wilson is serving a life sentence. On March 10, 1997, the district

court imposed a mandatory minimum life sentence, pursuant to 21 U.S.C. § 848(b).

       2. On November 3, 2011, Mr. Wilson filed a motion for a sentence reduction

pursuant to 18 U.S.C. § 3582(c) and Amendment 750 to the United States Sentencing

Guidelines.

       3. Mr. Wilson’s Sur-Reply in Further Support of his § 3582(c) Motion was due to be

filed on or before October 15, 2012.

       4. On October 5, 2012, the United States Supreme Court granted certiorari in the

case of Alleyne v. United States, 11-9335, 2012 WL 894630 (2012). In granting certiorari, the

Court agreed to consider the following issue: “Whether this Court's decision in Harris v.

United States, 536 U.S. 545, 557 (2002), holding that the Constitution does not require facts

which increase a mandatory minimum sentence to be determined by a jury, should be

overruled.” Alleyne v. United States, 2012 WL 4750325 *i (2012).
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         5. Defendant respectfully requests that this Court suspend the briefing schedule for

his § 3582(c) motion until the Supreme Court decides Alleyne. Undersigned counsel believes

Alleyne presents pertinent issues on Mr. Wilson’s behalf. More specifically, a sentencing judge

rather than a jury found the facts underpinning the continuing criminal enterprise

enhancement and therefore Mr. Wilson’s mandatory minimum life sentence. It is the

defense’s belief that the Court’s decision in Alleyne may impact the constitutionality of Mr.

Wilson’s sentence.

         6. Given his indeterminate sentence, Mr. Wilson will not be prejudiced by a

suspended briefing schedule. This request is made in good faith, and not for the purpose of

delay.

         WHEREFORE, it is respectfully requested that this Honorable Court grant Mr.

Wilson’s motion to suspend briefing until the United States Supreme Court decides Alleyne.

         Dated this 18th day of October, 2012, at Chicago, Illinois.


                                             Respectfully submitted,

                                             FEDERAL DEFENDER PROGRAM
                                             Carol A. Brook
                                             Executive Director


                                             By: s/ MiAngel Cody
                                                 MiAngel Cody


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                                   CERTIFICATE OF SERVICE


       The undersigned,        MiAngel Cody       , an attorney with the Federal Defender
 Program hereby certifies that in accordance with FED.R.CIV.P5, LR5.5, and the General
 Order on Electronic Case Filing (ECF), the following document(s):

        DEFENDANT ERIC WILSON’S MOTION TO SUSPEND BRIEFING

was served pursuant to the district court’s ECF system as to ECF filings, if any, and will be
sent by first-class mail/hand delivery on October 18, 2012, to counsel/parties that are non-
ECF filers.



                                             By:        s/ MiAngel Cody
                                                       Counsel for Eric Wilson
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